   Case: 1:18-cv-07918 Document #: 26-1 Filed: 02/05/19 Page 1 of 2 PageID #:287




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


GREGORY GODFREY, et al.,         ) Case No.: 1:18-CV-07918
                                 )
             Plaintiffs,         ) Judge Matthew F. Kennelly
                                 )
                                 )
-v-                              ) Magistrate Judge Michael T. Mason
                                 )
GREATBANC TRUST COMPANY, et al., )
                                 )
             Defendants.         )
                                 )
                                 )
                                 )
                                 )
                                 )

                        DEFENDANT GREATBANC TRUST COMPANY’S
                          CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant GreatBanc

Trust Company (“GreatBanc”) makes the following corporate disclosure:

        1.         GreatBanc states that its parent company is U.S. Fiduciary Services, Inc. and that

no publicly-held company owns 10% or more of GreatBanc’s stock. GreatBanc has no publicly

held affiliates.


Dated: February 5, 2019.



                                                   Respectfully submitted,


                                                   /s/ Michael L. Scheier
                                                   Michael L. Scheier (Ohio 0055512)
                                                   Brian P. Muething (Ohio 0076315)
                                                   Jacob D. Rhode (Ohio 0089636)
                                                   KEATING MUETHING & KLEKAMP PLL
    Case: 1:18-cv-07918 Document #: 26-1 Filed: 02/05/19 Page 2 of 2 PageID #:288



                                                    One E. 4th Street, Suite 1400
                                                    Cincinnati, OH 45202
                                                    Tel: (513) 579-6400
                                                    Fax: (513) 579-6457
                                                    mscheier@kmklaw.com
                                                    bmuething@kmklaw.com
                                                    jrhode@kmklaw.com

                                                    Attorneys for Defendant GreatBanc Trust
                                                    Company

                                                    And

                                                    Ross D. Taylor (6198181)
                                                    KEATING MUETHING & KLEKAMP PLL
                                                    125 S. Clark St., 17th Floor
                                                    Chicago, IL 60603
                                                    Local counsel for Defendant GreatBanc Trust
                                                    Company



                                    CERTIFICATE OF SERVICE

            I certify that on February 5, 2019, I caused true and correct copies of the foregoing to be

filed electronically using the Court’s CM/ECF system and to thereby be served upon all registered

participants identified in the Notice of Electronic Filing in this matter on this date. This document

is available for viewing and downloading on the CM/ECF system.


                                                          /s/ Michael L. Scheier
                                                          Michael L. Scheier
8976872.1




                                                   -2-
